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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                           Case No.: 2:11-cr-108-FTM-99SPC

MATTHEW ROLLINS
_______________________________________


                                            ORDER

       This matter comes before the Court on defendant’s Motion for Advance Authorization for

Expert Services (Doc. #74) filed on March 6, 2012. Defense counsel seeks to utilize the services

of a forensic DNA expert to assist in the preparation of a defense. Specifically, Defense Counsel

will retain Nancy W. Peterson, Forensic Biology Consultants, LLC. Ms. Peterson estimates a charge

of $2100.00 total for 12 hours of case file review and consultation. Upon review and pursuant to

18 U.S.C. § 3006 (A)(e)(3), the Court will grant the motion.

       Accordingly, it is now ORDERED:

        Motion for Advance Authorization for Expert Services (Doc. #74) is GRANTED to the

extent that counsel may hire the private investigator but compensation shall not exceed $2,100.00,

exclusive of reimbursement for expenses reasonably incurred.

       DONE AND ORDERED at Fort Myers, Florida, this            7th    day of March, 2012.




Copies: All Parties of Record
